                MINUTES OF THE UNITED STATES DISTRICT COURT

                            FOR THE DISTRICT OF ALASKA


       FLOYD LINDBLOOM                        v.   SPECIALIZED LOAN SERVICING, LLC,
                                                   et al.

THE HONORABLE JOHN W. SEDWICK                      CASE NO. 3:12-cv-00079 (JWS)


PROCEEDINGS:          ORDER FROM CHAMBERS                         Date: May 31, 2012


       At docket 5, plaintiff moves for an order dismissing this case and for a refund of
the filing fee. It is clear that the case should be dismissed, but plaintiff cites no authority
to support a refund of the filing fee. Regardless of the reason for filing the case, the fact
is that it was filed and the Clerk of Court opened a file when the fee was paid.. Under
these circumstances, the motion at docket 5 is GRANTED in part such that the case is
dismissed, and the Clerk will please close the file, The motion at docket 5 is DENIED in
part without prejudice concerning the request for a refund of the fling fee. If plaintiff can
find authority which authorizes the court to refund the filing fee, a new motion requesting
the refund may be filed in this closed case, provided that the motion is filed within
fourteen days from the date of this order.




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